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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW HAMPSHIRE

--------------------------------------             X
SECURITIES AND EXCHANGE                            :
COMMISSION,
                                                   :
                      Plaintiff,
                                                   :
         -against-                                     Civil Action No. 1:21-cv-00260-PB
                                                   :
LBRY, INC.,
                                                   :
                      Defendant.
--------------------------------------             X

     DECLARATION OF JEREMY KAUFFMAN IN SUPPORT OF LBRY’S MOTION
                 TO LIMIT THE COMMISSION’S REMEDIES

         I, Jeremy Kauffman, declare as follows:

         1.       In light of this Court’s holding on summary judgment and LBRY’s current

financial situation, LBRY intends to dissolve as soon as possible.

         2.       With respect to its financial situation, LBRY currently has approximately $1.8

million in assets. This includes less than $200,000 in cash. Its only other significant asset is a

$1.6 million loan from Odysee, which Odysee has no ability to pay. LBRY’s total liabilities

amount to nearly $4 million. Attached hereto as Exhibit 1 is a true and correct copy of LBRY’s

Balance Sheet as of December 7, 2022.

         3.       LBRY currently has approximately 119.5 million remaining LBC in its custody.

LBRY is willing to divest itself of all remaining tokens, either by “burning” them or donating

them to a disaffiliated non-profit organization controlled by individuals with no affiliation with

or association to LBRY.

         4.       All of the assets LBRY obtained through its sales of LBC were used to fund and

operate the business. The total amount of business expenses that LBRY has incurred since the
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inception of the company is approximately $17.5 million. Major business expenses include

approximately $2.4 million spent on independent contractors; approximately $7.3 million in

payroll; approximately $4.3 million in legal and compliance fees; and approximately $2 million

in information and technology expenses. Attached hereto as Exhibit 2 is a true and correct copy

of LBRY’s Profit and Loss Statement for the period May 1, 2016 through December 7, 2022.

       5.       LBRY last sold LBC in or around February 2021. LBRY has not sold any LBC

since the filing of the Commission’s Complaint in this action on March 29, 2021.


       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Executed on this 7th day of December, 2022.


                                                    Jeremy Kauffman




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